                          CITY OF HOUSTON                                                                        Sylvester Turner

                                                      Fire Department                                            Mayor
                                  Promoting Excellence as the World’s Largest Accredited Municipal Fire Agency
                                                                                                                 Samuel Peña
                                                                                                                 Fire Chief
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         August 16, 2018


         Amber C. Krause
         Director of Field Operations
         Residential Child Care Licensing
         Texas Health and Human Services Commission
         701 W. 51st Street Austin, TX 78751
         512.438.2054

         RE: Permit No.18067435/6992067-i0

         Dear Ms. Krause,

         With regards to Permit No. 18067435/6992067-i0, Southwest Key provided information in their
         Occupancy Inspection Application that suggested the facility located at 419 Emancipation would
         satisfy the requirements of a Group “R” Occupancy. At the request of Southwest Key, a safety
         survey was completed on June 15, 2018 and approved based on the Group “R” Occupancy
         designation only. Following this safety survey inspection, the City of Houston received a letter from
         Southwest Key dated June 27, 2018 which clearly stated that the occupants of the proposed facility
         will be unaccompanied minors aged 3-17. As such, the correct occupancy designation for this
         facility would constitute a Group "I" Institutional Occupancy and not a Group "R" Occupancy as
         originally presented. Because the occupancy group approved on the original Certificate of
         Occupancy does not match the new intended use of the structure, the Certificate of Occupancy for
         419 Emancipation is invalid. To obtain a valid Certificate of Occupancy for the recently proposed
         use, Southwest Key would need to submit two complete sets of plans reflecting the correct
         occupancy classification and documenting code compliance with the appropriate code provisions of
         the current Houston Construction Code for the proposed change in use/occupancy to the Houston
         Permitting Center for plan review. After obtaining a valid Certificate of Occupancy, a safety survey
         would then be completed based on a Group “I” Occupancy. As of today, the Houston Permitting
         Center has received no plans from Southwest Key reflecting the correct occupancy classification.
         The safety survey (Project No. 18067435) is valid only for a Group “R” occupancy and not for its
         intended use as a Group “I” occupancy.

         Respectfully,



         Samuel Peña                                      EXHIBIT 7
         Fire Chief
         Houston Fire Department
Council Members: Brenda Stardig Jerry Davis Ellen R. Cohen     Dwight Boykins Dave Martin Steve Le Greg Travis Karla Cisneros Robert Gallegos
Michael Laster Martha Castex-Tatum Mike Knox David Robinson    Michael Kubosh Amanda Edwards Jack Christie Controller: Chris Brown
